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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 EMILY RYO,                                       )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )         Civil Action No. 20-1166 (TJK)
                                                  )
 U.S. DEPARTMENT OF HOMELAND                      )
 SECURITY, et al.,                                )
                                                  )
                                                  )
                  Defendants.                     )
                                                  )

                                      JOINT STATUS REPORT

       Defendants United States Department of Homeland Security (“DHS”), United States

Customs and Border Protection (“CBP”), and United States Immigration and Customs

Enforcement (“ICE”), and Plaintiff Emily Ryo (hereinafter referred to as “Plaintiff,” or together

with Defendants, “Parties”), by and through undersigned counsel, respectfully submit this Joint

Status Report to update the Court on this case, pursuant to the Court’s July 15, 2020 Minute Order.

       Plaintiff’s Complaint relates to FOIA requests sent to ICE and CBP seeking, generally

speaking, anonymized, individual-level data on detention data for the time period of October 2012

to the time of the data extraction.

       On November 5, 2021, Plaintiff and CBP jointly stipulated to the dismissal of CBP without

prejudice. See ECF No. 17.

       ICE completed productions of responsive data on February 4, 2021. On March 22, 2021,

Plaintiff sent a list of inquiries about the data to ICE. On August 4, 2021, ICE provided responses

to the questions that Plaintiff had regarding their productions. Plaintiff asked some follow up

questions of ICE regarding its responses to Plaintiff. ICE is in the process of reviewing these
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responses. The Parties will continue to engage in discussions to determine if any remaining

challenges exist.

       Pursuant to the Court’s July 15, 2020 Minute Order, the parties will file a further status

report no later than April 4, 2022, to apprise the Court of their progress.



Date: February 2, 2022                 Respectfully submitted,

                                       MATTHEW M. GRAVES, D.C. Bar #481052
                                       United States Attorney

                                       BRIAN P. HUDAK,
                                       Acting Chief, Civil Division

                               By:     /s/ Stephen DeGenaro
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